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                                                                            ELECTRONICALLY FILED
  UNITED STATES DISTRICT COURT                                              DOC #:
  SOUTHERN DISTRICT OF NEW YORK                                             DATE FILED: 02/15/2024


    SHANELL MARTINEZ,

                                                                            22-cv-3111
                                  Plaintiff,
                                                                            PROTECTIVE ORDER
                                               v.


    189 CHRYSTIE STREET PARTNERS, LP, d/b/a THE BOX,
    VARIETY WORLDWIDE, LLC, SIMON HAMMERSTEIN,
    JAVIER VIVAS, GIZA SELIMI, and NENAD KARAC,


                                  Defendants.
    Valerie E. Caproni, U.S.D.J.

               The parties having agreed to the following terms of confidentiality, and the Court having

    found that good cause exists for issuance of an appropriately tailored confidentiality order

    governing the pre-trial phase of this action, it is therefore hereby:

               ORDERED that any person subject to this Order—including without limitation the parties

    to this action, their representatives, agents, experts, consultants, all third parties providing

    discovery in this action, and all other interested persons with actual or constructive notice of this

    Order—shall adhere to the following terms, upon pain of contempt:

              1.   Any person subject to this Order who receives from any other person any “Discovery

                   Material” (i.e., information of any kind provided in discovery in this action) that is

                   designated as “Confidential” pursuant to the terms of this Order shall not disclose

                   such Confidential Discovery Material to anyone else except as expressly permitted

                   hereunder.

              2.   The person producing any given Discovery Material may designate as Confidential

                   only such portion of such material as consists of:
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                         a. previously nondisclosed financial information (including without limitation

                             profitability reports or estimates, percentage fees, design fees, royalty rates,

                             minimum guarantee payments, sales reports and data, and sale margins);

                         b. previously nondisclosed commercial information relating to any party’s

                             business including, but not limited to, tax data; proposed strategic

                             transactions or other business combinations; internal audit practices,

                             procedures and outcomes; trade secrets; marketing plans and strategies;

                             studies or analyses by internal or outside experts; competitive analyses;

                             customer or prospective customer lists and information; product or service

                             pricing or billing agreements or guidelines; product development

                             information; and/or confidential project-related information;

                         c. previously nondisclosed material relating to ownership or control of any

                             non-public company, including, but not limited to, matters relating to

                             mergers and acquisitions;

                         d. any information of a personal or intimate nature regarding any individual;

                         e. any information, documents, or data if the information contained therein has not

                             been made publicly available and is the kind of information Plaintiff or

                             Defendants believe in good faith to be confidential or personal information; or

                         f. any other category of information herein after given confidential status by the

                             Court.

              3.   With respect to the Confidential portion of any Discovery Material other than

                   deposition transcripts and exhibits, the producing person or that person’s counsel may

                   designate such portion as “Confidential” by stamping or otherwise clearly marking as

                   “Confidential” the protected portion in a manner that will not interfere with legibility
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                   or audibility, and by also producing for future public use another copy of said Discovery

                   Material with the confidential information redacted. With respect to deposition

                   transcripts and exhibits, a producing person or that person’s counsel may indicate on

                   the record that a question calls for Confidential information, in which case the

                   transcript of the designated testimony shall be bound in a separate volume and marked

                   “Confidential Information Governed by Protective Order” by the reporter.

              4.   If at any time prior to the trial of this action, a producing person realizes that some

                   portion(s) of Discovery Material that that person previously produced without

                   limitation should be designated as Confidential, he or she may so designate by so

                   apprising all parties in writing, and such designated portion(s) of the Discovery

                   Material will thereafter be treated as Confidential under the terms of this Order.

              5.   No person subject to this Order other than the producing person shall disclose any of

                   the Discovery Material designated by the producing person as Confidential to any

                   other person whomsoever, except to:

                         a. the parties to this action, their insurers, and counsel to their insurers;

                         b. counsel retained specifically for this action, including any paralegal,

                             clerical and other assistant employed by such counsel and assigned to this

                             matter;

                         c. outside vendors or service providers (such as copy-service providers and

                             document-management consultants) that counsel hire and assign to this

                             matter;

                         d. any mediator that the Parties engage in this matter or that this Court

                             appoints;

                         e. as to any document, its author, its addressee, and any other person indicated
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                             on the face of the document as having received a copy;

                         f. any witness who counsel for a party in good faith believes may be called to

                             testify at trial or deposition in this action, provided such person has first

                             executed a Non-Disclosure Agreement in the form annexed as an Exhibit

                             hereto;

                         g. any person retained by a party to serve as an expert witness or otherwise

                             provide specialized advice to counsel in connection with this action,

                             provided such person has first executed a Non-Disclosure Agreement in the

                             form annexed as an Exhibit hereto;

                         h. stenographers engaged to transcribe depositions conducted in this action;

                             and

                         i. the Court, including any appellate court, and its support personnel.
              6.   All Confidential Discovery Material filed with the Court, and all portions of pleadings,

                   motions or other papers filed with the Court that disclose such Confidential Discovery

                   Material, shall be filed under seal and kept under seal until further order of the Court.

                   The parties will use their best efforts to minimize such sealing. In any event, any party

                   filing a motion or any other papers with the Court under seal shall also publicly file a

                   redacted copy of the same, via the Court’s Electronic Case Filing system, that redacts

                   only the Confidential Discovery Material itself, and not text that in no material way

                   reveals the Confidential Discovery Material.

              7.   Any party who either objects to any designation of confidentiality, or who, by

                   contrast, requests still further limits on disclosure (such as “attorneys’ eyes only” in

                   extraordinary circumstances), may at any time prior to the trial of this action serve

                   upon counsel for the designating person a written notice stating with particularity the
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                    grounds of the objection or request. If agreement cannot be reached promptly, counsel

                    for all affected persons will address their dispute to this Court in accordance with

                    Paragraph 5 of this Court’s Individual Practices in Civil Cases.

              8.    All persons are hereby placed on notice that the Court is unlikely to seal or otherwise

                    afford confidential treatment to any Discovery Material introduced in evidence at

                    trial, even if such material has previously been sealed or designated as Confidential.

                    The Court also retains unfettered discretion whether to afford confidential treatment to

                    any Confidential Document or information contained in any Confidential Document

                    submitted to the Court in connection with any motion, application, or proceeding that

                    may result in an order and/or decision by the Court.

              9.    Each person who has access to Discovery Material that has been designated as

                    Confidential shall take all due precautions to prevent the unauthorized or inadvertent

                    disclosure of such material.

              10.   If, in connection with this litigation, a party inadvertently discloses information

                    subject to a claim of attorney-client privilege or attorney-work-product protection

                    (“Inadvertently Disclosed Information”), such disclosure shall not constitute or be

                    deemed a waiver or forfeiture of any claim of privilege or work product protection

                    with respect to the Inadvertently Disclosed Information and its subject matter.

              11.   If a disclosing party makes a claim of inadvertent disclosure, the receiving party shall

                    not thereafter review the Inadvertently Disclosed Information for any purpose, except

                    by order of the Court. The receiving party shall, within five business days, return or

                    destroy all copies of the Inadvertently Disclosed Information, and provide a

                    certification of counsel that all such information has been returned or destroyed.

              12.   Within five business days of the notification that such Inadvertently Disclosed
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                    Information has been returned or destroyed, the disclosing party shall produce a

                    privilege log with respect to the Inadvertently Disclosed Information.

              13.   As with any information redacted or withheld, the receiving party may seek an order

                    from the Court compelling production of the Inadvertently Disclosed Information.

                    The receiving party should follow the procedures in Paragraph 5 of the Court’s

                    Individual Practices in Civil Cases and shall not assert as a ground for entering such

                    an Order the fact or circumstances of the inadvertent production.

              14.   The disclosing party retains the burden of establishing the privileged or protected

                    nature of any Information. Nothing in this Order shall limit the right of any party to

                    request an in camera review of the Inadvertently Disclosed Information.

              15.   This Protective Order shall survive the termination of the litigation. Within 30 days

                    of the final disposition of this action, all Discovery Material designated as

                    “Confidential,” and all copies thereof, shall be promptly returned to the producing

                    person, or, upon permission of the producing person, destroyed.

              16.   This Court shall retain jurisdiction over all persons subject to this Order to the extent

                    necessary to enforce any obligations arising hereunder or to impose sanctions for any

                    contempt thereof.




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               SO STIPULATED AND AGREED.



 _/s/Megan Goddard_______________              _/s/Joan B. Lopez________________________
 Megan Goddard                                 Joan B. Lopez
 GODDARD LAW PLLC                              LEWIS BRISBOIS BISGAARD & SMITH LLP
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 Megan@goddardlawnyc.com                       Joan.Lopez@lewisbrisbois.com
 Attorneys for Plaintiff                       Attorneys for Defendants




 Dated:2/15/2024________________               Dated:_2/15/2024______________



              Notwithstanding anything in the foregoing to the contrary, the parties must comply with
              the Undersigned's Individual Practices regarding the filing of sealed or redacted
              documents.



              SO ORDERED.




                                                               Valerie E. Caproni, U.S.D.J.

    Dated:            New York, New York
                        02/15/2024




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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


   SHANELL MARTINEZ,
                                                                             22-cv-3111

                              Plaintiff,                                    NON-DISCLOSURE
                                                                              AGREEMENT
                                           v.


  189 CHRYSTIE STREET PARTNERS, LP, d/b/a THE BOX,
  VARIETY WORLDWIDE, LLC, SIMON HAMMERSTEIN,
  JAVIER VIVAS, GIZA SELIMI, and NENAD KARAC,



                              Defendants.

          I,                   , acknowledge that I have read and understand the Protective Order in

  this action governing the non-disclosure of those portions of Discovery Material that have been

  designated as Confidential. I agree that I will not disclose such Confidential Discovery Material to

  anyone other than for purposes of this litigation and that at the conclusion of the litigation I will

  return all discovery information to the party or attorney from whom I received it. By

  acknowledging these obligations under the Protective Order, I understand that I am submitting

  myself to the jurisdiction of the United States District Court for the Southern District of New York

  for the purpose of any issue or dispute arising hereunder and that my willful violation of any term

  of the Protective Order could subject me to punishment for contempt of Court.




              Dated:




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